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                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MONTANA
                                                                           FILED
                                  HELENA DIVISION                           FEB O7 2018
                                                                         Clerk, U.S. District Court
UNITED STATES OF AMERICA,                              CR 17-18-H-SEH       District Of Montana
                                                                                   Helena


                              Plaintiff,               ORDER

      vs.

ERNEST JABLONSKY, dba
MONTANA BIG GAME PURSUITS,
and MITCH THEULE,

                              Defendants.

     On February 6, 2018, and February 7, 2018, the Court conducted a hearing

                                                        1
on Defendant Ernest Jablonsky's pending motions.

      Upon the record made in open court,

      ORDERED:

      1.       Ernest Jablonsky's Motion to Suppress his Statement Made to an

Investigator2 is DENIED.



      1
          Docs. 75, 78, 80, 82,170,177,179. and 181.
      2
          Doc. 75.

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      2.       Ernest Jablonsky's Motion to Strike References ... 3 and Ernest

Jablonsky's Motion to Strike References ... from the Superseding Indictment' arc

DENIED.

      3.       Ernest Jablonsky's Motion to Dismiss Counts I, III and IV of the

Indictment 5 and Ernest Jablonsky's Motion to Dismiss All Counts of the

Superseding Indictment 6 are DENIED.

      4.       Ernest Jablonsky's Motion to Suppress All Infonnation Obtained

From a Search of his Home on June I, 2016 and Information Obtained From his

Bank Records, Cell Phone Records and Facebook Records 7 is GRANTED in part

and DENIED in part as stated on the record.

      5.       Ernest Jablonsky's Motion in Limine 4 (Publicized Hunting Laws and

Regulations) 8 is DENIED, subject to address of relevant legal issues as appropriate

by the Court's instructions to the jury.




      3
          Doc. 78.
      4
          Doc. 177.
      5
          Doc. 80
      6
          Doc. 179.
      7
          Doc. 82.
      8
          Doc. 170.

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     6.       Ernest Jablonsky's Opposed Second Motion re: Inspecting Files and

Producing Information} DENIED.

     DATED this __l_:'ctay of February, 2018.




                                              United States District Judge




     9
         Doc. 181.

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